
13 Mich. App. 600 (1968)
164 N.W.2d 776
PEOPLE
v.
TOWNSEL.
Docket No. 4,196.
Michigan Court of Appeals.
Decided October 21, 1968.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, Robert F. Leonard, Prosecuting Attorney, and Donald A. Kuebler, Assistant Prosecuting Attorney, for the people.
Stacey De Camp, for defendant on appeal.
PER CURIAM:
By his plea of guilty, defendant was convicted of carrying a concealed weapon, CL 1948, § 750.227 (Stat Ann 1962 Rev § 28.424), and was sentenced to a term of 3 to 5 years. On appeal, he contends he was illegally arrested and searched; he was carrying the weapon for self-protection; his *601 plea was improperly accepted; and the trial court abused its discretion in sentencing him to a term of 3 to 5 years.
We find no support in the record for defendant's claims that he was illegally arrested and searched. If the record supported defendant's contention that he was carrying the weapon for self-protection, which it does not, no defense would be established thereby. The record demonstrates compliance with GCR 1963, 785.3 and the sentence imposed was within the statutory limits.
Affirmed.
QUINN, P.J., and HOLBROOK and VANDER WAL, JJ., concurred.
